Case 2:04-cV-02416-STA-tmp Document 25 Filed 04/26/05 Page 1 of 2 Page|D 38

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IN THE UNITED sTATEs DISTRICT coURT
FoR THE WESTERN I)ISTRICT oF TENNESSEE 05 pipe 25 mg ';z ga

WESTERN DIVISION

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l . .\`. ' . J .

FREDDlE L. MooRE, § W|D' ‘OF m M*',:MPHB
Plaintiff, )
)

v. ) NO. 04-2416 B/An

)
TOYS-R-US DELAWARE, INC., )
C/O JON JAY ASSOCIATES, INC., )
)
Defendant. )

 

ORDER GRANTING JOINT MOTION FOR EXTENSION OF DEADLINES

 

Before the Court is the parties’ Joint Motion for Extension of Deadlines filed on April ll,
2005. For good cause shoWn, the Motion is GRANTED. The Scheduling Order shall be

modified to reflect the following deadlines:

Completing All Discovel'y June 11, 2005
Depositions June ll, 2005
Filing Dispositive Motions July 21, 2005

The other deadlines established in the Rule l6(b) Scheduling Order remain in effect. United

States District Judge J. Daniel Breen has re-set the trial in this matter for November 7, 2005.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: @b,! 223 200_\/

IT IS SO ORDERED.

Th|s document entered on the docketl_/ sheet In [€cojpl tance
with Ftule 58 and]or ?9{2\) FHCP on_______________,

 

DISTRICT OURT WESTERN DISRICT oF TENNESSEE

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Honorable .1. Breen
US DISTRICT COURT

